            Case 4:07-cv-05944-JST Document 3283-7 Filed 12/23/14 Page 1 of 2




 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 204-7356
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.
14

15                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
16                                      SAN FRANCISCO DIVISION

17   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
     LITIGATION
18                                                              MDL No. 1917
     This Document Relates to:
19                                                              [PROPOSED] ORDER DENYING
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   DEFENDANTS’ MOTION FOR
20   Case No. 13-cv-1173 SC;                                    PARTIAL SUMMARY JUDGMENT
                                                                ON STATUTE OF LIMITATIONS
21   Sharp Electronics Corp., et al. v. Koninklijke             GROUNDS
     Philips Elecs., N.V., et al., Case No. 13-cv-2776
22   SC.
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             [PROPOSED] ORDER DENYING MOTION FOR SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS GROUNDS
                                        CASE NO. 07-5944-SC; MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3283-7 Filed 12/23/14 Page 2 of 2




 1                 Upon consideration of Defendants’ Joint Motion for Partial Summary Judgment Against

 2   the Sharp Plaintiffs on Statute of Limitations Grounds (MDL Dkt. No. 3044), all papers filed in support

 3   of and in opposition to said motion and the arguments of counsel, IT IS HEREBY ORDERED:

 4                 The Motion is DENIED.

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 7            DATED:                                      _________________________________

 8                                                               HON. SAMUEL CONTI
                                                            UNITED STATES DISTRICT JUDGE
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             [PROPOSED] ORDER DENYING MOTION FOR SUMMARY JUDGMENT ON STATUTE OF LIMITATIONS GROUNDS
                                        CASE NO. 07-5944-SC; MDL NO. 1917
